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    EXHIBIT
      “A”
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             KAIKA SAS and KULENKAMPFF & KONITZKY GMBH

Kelley B. Stewart
Date        Time in 1/4 hr   Description of work performed
            increments
March
3/11/14               .50    Preliminary research re M Stay

April
4/8/14            2.50       Portal-to-portal tvl and hrg on M to Dismiss Complaint
4/7/14             .25       Hrg prep



Carlos A. Acevedo
Date        Time in 1/4 hr   Description of work performed
            increments
March
3/11/14               .25    Tel call to def counsel re M to Dismiss Complaint.
3/14/14               .25    Tel conf w/ def counsel re M to Dismiss Complaint; sch hrg.

April
4/3/14             .50       Email to/fr def counsel re upcoming hrgs
4/7/14            1.50       Hrg prep; tel conf w/def counsel.
4/8/14            2.50       Portal-to-portal tvl and hrg on M to Dismiss Complaint

May
5/2/14            1.0        Email to/fr Cole; tel conf w/ Cole, H Duran & others re
                             financials.
5/8/14             .25       Receipt and review of Answer and Affirmative Defenses
5/9/14             .50       Review of Answer and Affirmative Defenses
5/12/14            .50       Review of Answer and Affirmative Defenses; review of emails.
5/13/14           1.50       Email to/fr Cole. Draft Inter & R/P to Ds.
5/19/14           2.50       Prep and tel conf w/Cole.
5/20/14            .75       Review of Grant Thornton issues, background information,
                             Inter, R/P
5/21/14           1.00       Ltr to Grant Thornton; tel conf w/Humberto Duran.
5/27/14           3.50       Prep & review of Inter, R/P, R/Adm to Ds. Prep for tel conf
                             w/Cole, Duran, and others.
5/29/14           5.0        Several tel conf w/Cole and others. Review and filing of R/P,
                             R/Adm, & Inter. Tel conf w/ Shoham. Draft and send ltr to
                             IDenta.
                21.50

Above billed 6-2-14
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June
6/2/14             .50     Tel conf w/ def counsel.
6/2/14             .75     Tel conf w/Cole
6/3/14            2.00     Case law review, hrg prep, and emails.
6/4/14            4.00     Case law review, hrg prep.
6/5/14            6.00     Case law review, hrg prep.
6/6/14            2.00     Portal-to-portal tvl & hrg
6/10/14            .50     Prep and filing of N of Svc of Process of Bank Subp Duces
                           Tecum
6/24/14            .25     Email to/fr def counsel re extension re discovery.
                 16.00

July              1.0      Misc emails and tel conf.
                  1.0

August
8/1/14            2.0      Tel conf w/ Cole and Humberto Duran. Prep for tel conf; prep
                           for response to R/Adm.
8/4/14            3.75     Prep for and tel conf w/ Cole and Humberto Duran, Alexandra
                           Begoya re R/P.
8/5/14            4.00     Prep and tel conf w/ Cole and Duran re R/Adm.
8/6/14            3.50     Review of disc and tel conf w/Cole.
8/7/14            6.50     Review of disc and tel conf w/Cole.
8/8/14            5.00     Review of disc docs and docs for responsive disc. Tel conf
                           w/Cole.
8/11/14           4.00     Review of disc docs and docs for responsive disc. Prep of
                           responsive pleadings.
8/12/14           3.00     Review of Ds production docs; tel conf w/Cole; tel conf w/
                           defense atty; emails.
8/13/14           3.00     Review of docs; prep for conf w/ defense attys re doc
                           production; prep for M/Compel
8/14/14           1.00     Review Ds production and prep for conf w defense attys.
8/18/14           2.00     Prep for & conf w defense attys re Ds production & responses.
8/19/14           1.00     Receipt & review of emails w/ docs enc
8/22/14           1.00     Review of email fr Duran w/ docs enc
                 39.75

Above billed 8-29-14


September
9/3/14             .25      Email re D withdrawal of subp re Thorton Grant docs.
9/4/14            1.0       Prep & file Response to R/P Copies re Bank Records.
9/8/14            2.0       Call w/Cole; review of docs for production.
9/15/14           8.0       Response to D First R/P
9/16/14           2.0       Drafting of M/Compel Better Ans to Inter.
9/17/14           2.0       Drafting of M/Compel Response to R/P; tel conf w/A Prieto;
                            emails w/clt.
9/18/14           4.0       Tel conf w/Nina, H Duran, A Prieto; work on M/Compel
                            Production; drafting statement by Prieto.
                 19.25
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Above billed 10-15-14


October
10/9/14            .25      Review addition production docs.
10/10/14           .50      Sch M/Compel hrg.
10/20/14           .50      Filing of M/Compel and N/Hrg
                  1.25

November
11/5/14            .50      Email to Identa enc docs
11/10/14          1.00      Review ltr fr and draft ltr to Grant Thornton
11/11/14           .50      Ltr to Grant Thornton; email to def counsel.
                  2.00

December
12/15/14          1.0       Hearing prep
12/16/14          7.0       Hearing prep
12/17/14          3.5       Tvl & hearing; tel conf w/Cole
12/18/14          1.5       Review and revision of draft orders.
12/19/14           .0       Tel conf w/Cole re results of hrg. No charge.
12/22/14          1.0       Research and revision of draft order re R/P.
12/29/14          1.0       Draft & sent statutory theft letter.
                 15.00

Above billed 1-1-15


January
01/09/15           .50      Tel conf w/ Cole
                  0.50

February
02/10/15          1.0       Review of supplemental Ans to Inter and R/P
02/11/15          3.0       Tel conf w/def counsel; draft ltr to defense counsel; draft subp;
                            email to def counsel enc draft subp
02/12/15              .50   File Notice of Svc of Subp; issue subp; mail subp to Sheriff for
                            svc of process
02/13/15          1.00      Ltr to Grant Thornton
02/17/15          1.50      Mtg w/Duran; Borrero; Piquero to discuss status & overall
                            strategy.
02/17/15           .50      Review of docs and transmission of docs to Colombian team.
                  7.50

March
03/11/15          1.50      Review subpoena duces tecum docs; send to defense counsel;
                            draft Del Medico affidavit
3/16/15           1.00      Drafting of Amended Complaint
3/17/15           2.00      Drafting of Amended Complaint and M/Amend.
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                  4.50

June
6/2/15            3.0       Drafting of Amended Complaint and M/Amend; email to clt.
6/5/15             .5       Status conf w/ clt
6/18/15           1.0       Prep for tel conf & tel conf w/clt re authorization to file
                            Amended Complaint.
                  4.50

July
7/14/15               .50   Tel conf w/defense counsel; motion to amend; amended
                            complaint.
                  0.50

August
8/4/15            2.0       File review; email to clt re fiscalia/prosecution
8/11/15           2.5       Review of D Suggestion of Bankruptcy; review of bankruptcy
                            docket sheet and docs.
8/12/15           1.75      Receipt and review of Answer, Affirmative Defenses, Motion to
                            Withdraw as Counsel, and D Suggestion of Bankruptcy. Rsch
                            for motion to lift stay.
8/13/15            .50      Rsch re motion to lift stay.
                  6.75

Above billed on 10-2-15

8/14/15               .50   Rsch re motion to lift stay. Email to defense counsel re orders
                            re motions to withdraw as counsel.
8/21/15               .25   E-mail to/fr D counsel re Orders re motions to withdraw as
                            counsel
                  0.75

September
9/8/15            1.50      Tel conf w/bankruptcy atty
9/9/15             .50      E-mail to Cole re update.
9/11/15            .50      Tel conf w/Cole.
9/29/15           3.00      Prep and filing of P 2d R/Adm to D
9/30/15           1.00      Prep and filing of Subp D/T W/O Depo to Spiegel & Utrera
                  6.75

October
10/1/15           1.00      Ltr to D requesting dates for depo
10/2/15           1.00      Receipt and review of ltr fr Grant Thornton
10/9/15           1.00      2d ltr to D requesting depo dates
10/15/15          1.00      Draft ltr to Spiegel & Utrera enc Subp D/T W/O Depo
10/22/15          1.00      Mtg w/Bigge re bankruptcy proceeding; send docs to Bigge
10/22/15          2.25      Review of thumbdrive of labor law hrg; e-mail to Bigge; filing of
                            return of svc of Spiegel & Utrera subpoena
10/22/15              .25   E-mail to/fr Cole re won labor law hrg
10/23/15              .50   3rd ltr to D requesting depo dates
                  8
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November
11/2/15             .25      E-mail to Bigge re bankruptcy
11/13/15            .50      Ltr to Spiegel
                    .75

December
12/17/15          4.50       Tel conf w/Cole; depo prep
12/18/15          4.25       Depo prep; portal-to-portal tvl for depo
12/28/15           .50       Tel conf w/Bigge
                  9.25




Above billed on 1-8-16

Kelley B. Stewart
Date        Time in 1/4 hr   Description of work performed
            increments
February
2-2-16            1.00       Discussion of D’s Response to Order to Show Cause and
                             evidence strategy.
2-3-16              .25      Strategy re N/Depo of Root; rsch; etc.
2-4-16            1.00       Mtg w/process server
2-9-16            1.00       Prep and file M Strike
2-12-16             .50      Conf w CAA re strategy
2-15-16             .50      Depo of Angelena Root
2-17-16             .25      Conf w/CAA
2-18-16           3.50       Tvl and hrg re M Strike and Show Cause hrg
                  8

CAA
January
1/4/16            1.50       Tel conf w/Bigge; conf w/Van Steenkiste; prep P M for Order to
                             Show Cause
1/5/16            1.00       Filing of P M for Order to Show Cause and N Hearing. Draft
                             Proposed Order on P M for Order to Show Cause.
1/7/16            1.00       Tel conf w/Durand; tel conf w/Bigge; tel conf w/Trujillo.
1/8/16            1.00       Tel conf w/Bigge; e-mail to Nina; read bankruptcy pleadings.
1/13/16           2.00       Tel conf w/Nina; prep for hrg.
1/14/16           5.50       Tvl and hrg re M Show Cause; tel conf w/Duran; conf
                             w/process server.
1/15/16           3.00       Tel conf w/Nina; rsch.
1/19/16           1.00       Tel conf w/Nina.
1/25/16            .50       Tel conf w/Bigge; order 2004 exam transcript.
1/28/16            .25       Tel conf w/Nina re hard drive copy.
February           .00
2/2/16            1.00       Discussion of D’s Response to Order to Show Cause and
                             evidence strategy. N/Depo of Root.
2/3/16            7.00       Re-N/Depo of Root. Read 2004 exam of Pereira. Mtg
                             w/process server.
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2/4/16            2.00     Mtg w/ process server. Follow-up instructions on 2004 exam.
                           Tel conf w/Nina.
2/9/16             .25     Read e-mail fr Pereira re M Strike.
2/12/16           4.00     Tel conf w Bigge; tel conf w Slatkin; tel conf w Cole. Prep for
                           depo of Root. Emails to/fr Bigge; emails to/fr Slatkin; emails
                           to/fr Cole. Case law rsch.
2/13/16           3.0      Depo prep of Angelena Root
2/15/16           4.0      Prep and depo of Angelena Root; e-mail to Slatkin.
2/16/16           1.0      Tel conf w/Slatkin; review of adversarial complaint filed by
                           Slatkin.
2/17/16           2.50     Prep for hrg & conf w/KBS
2/18/16           4.50     Tel conf w/Slatkin; portal-to-portal tvl & hrg re M Strike and
                           Show Cause hrg.
2/19/16           1.00     Tel conf w/Nina Cole
2/22/16           1.00     Tel conf w/Duran; e-mail to Duran; etc.; ltr to Grant Thornton;
                           e-mail to Pereira
2/23/16           3.50     Tel conf w/Nina Cole; submission of Orders to J thru
                           eCourtesy; e-mail to Pereira
2/25/16           3.50     Tel conf w/Nina Cole; e-mail to Pereira
2/29/16           1.00     E-mail to/fr Root; Tel conf w/Sheriff
                 56

Above billed on 3-3-16

CAA
March
3/3/16              .25    Ltr to Pereira re depo date.
3/8/16              .25    Ltr to Pereira re depo date. E-mail fr Pereira re depo date.
3/23/16             .25    E-mail to Nina Cole
3/24/16             .50    E-mail fr Nina Cole; e-mail to Pereira re depo date; review of
                           bankrupty order to show cause
3/28/16           1.75     E-mails w/ Slatkin; call with Slatkin; call with Piquero and call
                           with Borrero; review of Colombian labor law proceedings.
3/29/16             .50    E-mails w/Slatkin re review of Colombian labor law
                           proceedings; e-mail to Pereira re depo date.
3/31/16           1.00     E-mail to Pereira re depo date; N Depo of Pereira
Total             4.5

Above billed on 4-1-16

CAA
April
4/1/16            1.0      Tel conf w/Slatkin; tel conf w/Cole; emails.
4/4/16            6.0      Emails; Tel conf w/Cole; file review; prep for objection and trial.
4/5/16            6.0      Emails; tel conf w/Cole; tel conf w/Slatkin; review of file; prep
                           for adversarial proceeding.
4/6/16            5.0      Emails; prep of objection.
4/7/16            4.0      Prep of objection.
4/8/16            1.0      Receipt and analysis of Trustee’s Motion to Dispose of Assets;
                           conf w/Cole.
4/12/16           2.0      Review materials provided by Cole; emails to Duran; tel conf
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                             w/Duran; tel conf w/Slatkin; review opp to settlement; review
                             opp to abandonment and N/Filing.
4/19/16           3.50       Prep for FRCP 26 initial disclosure; emails; tel conf w/Cole; tel
                             conf w/Duran; review of draft FRCP 26 initial disclosure.
                 28.5

May

5/3/16                .50    E-mail to/fr Pereira re cancellation of depo. Cancellation of
                             depo.
5/4/16                .50    Conf w/KBS;

5/12/16           2.00       Review of Cole notes and attachments re D 2004 exam

5/13/16           2.00       Review of Cole notes and attachments re D 2004 exam

5/17/16           1.25       Tel conf w/Cole

5/18/16           1.50       Tel conf w/Cole and w/Duran

5/19/16               .50    Tel conf w/Slatkin

5/23/16               .25    E-mail fr Slatkin

5/24/16               .25    E-mail to Slatkin

5/25/16               .25    E-mail fr Slatkin

5/27/16           1.00       Working lunch w/Slatkin

                 10


Kelley B. Stewart
Date        Time in 1/4 hr   Description of work performed
            increments
May
5/4/16             .50       Conf w/CAA.

Above billed on 6-6-16

CAA
June
6/22/16            .25       E-mails to/fr Slatkin
6/24/16            .75       Tel conf w/Slatkin
6/28/16            .25       E-mail to Root requesting depo dates for D depo
                  1.25

Above billed on 8-15-16
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August
8/1/16             .25       E-mail to/fr Cole re tel conf
8/8/16            2.00       Tel conf w/Cole; e-mail to Slatkin
8/11/16            .50       E-mail to Slatkin and e-mail to Root
8/12/16           1.00       Tel conf w/Cole; e-mail to Cole.
8/15/16            .25       E-mail fr Root; e-mail to/fr Cole.
8/18/16            .25       E-mail fr Slatkin; e-mail fr Cole.
8/23/16            .25       E-mail to/fr Slatkin; e-mail to/fr Cole
8/24/16           1.50       E-mail to/fr Slatkin; tel conf w/Cole.
8/29/16           3.0
8/30/16           2.0
8/31/16           1.5        E-mails to/fr Slatkin and Cole; read and review order; send to
                             Cole.
                 12.5

September
9/13/16           2.00       Tel conf w/Cole
9/19/16           1.50       E-mails w/Slatkin; review of inter & R/P; e-mails re Weiss
9/27/16           4.0        Depo prep
9/28/16           6.0        Depo prep; tel conf w/Cole
9/29/16          10.0        Depo; tel call w/Cole
                 23.5

Above billed on 10-10-16

October
10/21/16          1.5        Review of disc docs; calls to Colombia
10/27/16          1.0        Review of depo; docs; sent docs to Grant Thornton
10/28/16          1.0        Tel conf w/Cole
                  3.5

November
11/3/16           1.0        Emails; contact & emails w/Grant Thornton
11/4/16           4.0        Contact & mtg w/ witness, Oscar Villaraga, & his atty
11/1-4/16          .50       Misc e-mails to/fr Cole
11/9/16            .50       E-mails w/Slatkin; tel conf w/Slatkin; e-mails with Oscar
                             Villarraga; review of Oscar Villarraga docs
11/10/16          1.50       Tel conf w/Cole; review of docs produced by CP
11/15/16          2.00       Review of production of docs produced by Weiss
11/16/16           .50       Conf w/KBS
11/22/16           .75       Tel conf w/Cole; review of e-mails and docs
                 10.75
Kelley B. Stewart
Date        Time in 1/4 hr   Description of work performed
            increments
November
11/16/16           .50       Conf w/CAA
                  0.5
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Above billed on 12-9-16

CAA
December
12/6/16            .50     E-mails to/fr Cole
12/23/16                   E-mails to/fr Cole

                  0.5




CAA
January
1/9/17            1.00     E-mails to/fr Root, Slatkin, etc.
1/10/17           1.00     E-mails to/fr Cole, Root, Slatkin
1/11/17           2.00     E-mails to/fr Cole, tel conf w/Cole
1/12/17           2.00     E-mails to/fr Root, Slatkin; tel conf w/Root, Slatkin, Cole
1/13/17           5.00     Conf w/Root, Slatkin; tel conf w/Cole
1/17/17            .50     E-mails to/fr Slatkin
1/23/17            .50     E-mails to/fr Slatkin; Root; Cole
1/24/17           1.00     Prep and tel conf w/Dov
1/25/17           1.00     Tel conf w/Cole; Slatkin
1/30/17            .50     E-mail fr Cole
                 14.5

Above billed on 2-14-17



February
2/1/17             .50     E-mails to/fr Frimer, Cole, etc.
2/4/17             .50     E-mails to/fr Frimer
2/6/17             .50     E-mail fr Frimer enc doc; Slatkin; etc.
2/9/17             .50     E-mail to/fr Slatkin
2/10/17            .50     Non-appearance of Pereira; contact w/court reporter; etc.
2/17/17            .75     Ltr to Grant Thornton
2/20/17           1.00     Tel conf w/Cole; e-mails to/fr Cole.
                  4.25

Above billed 3-13-17
_________________________________________________________________________

March
3/8/17            1.00     Tel conf w/Cole
3/9/17            1.00     Tel conf w/Pereira; emails w/Cole
3/13/17            .50     E-mail to/fr Slatkin; etc.
3/14/17            .25     Tel conf w/Slatkin
3/16/17            .25     Tel conf w/Pereira.
3/17/17            .50     E-mails to/fr Slatkin
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3/20/17           1.00     Tel conf w/Cole; review of docs; research
3/21/17           1.25     Tel conf w/Pereira; tel conf w/Cole
3/29/17            .25     Tel conf w/Slatkin
3/31/17            .25     Tel conf w/Cole
                  6.25

April

4/5/17            1.00     Tel conf w/Cole, Slatkin; e-mails w/Cole
4/6/17                     Tel conf w/Pereira
4/17/17            .75     E-mails fr Cole enc photos and infor
4/24/17            .50     Tel conf w/ Slatkin; e-mail to Pereira
4/26/17           3.50     Hrg before Bankruptcy J; e-mails to/fr Slatkin; etc.
4/28/17            .50     E-mails to/fr Slatkin and review of proposed orders.
                  5.25

Above billed 5-22-17
_________________________________________________________________________


May and June
5/8/17            1.50     Tel conf w/Cole and Duran
5/15/17           5.00     E-mail fr Slatkin enc D answer and affirmative defense; draft
                           written questions for depo.
6/6/17            3.5      Follow-up questionnaire to Pereira; e-mail to Slatkin
6/7/17            1.5      N Compliance
6/24/17           1.0      E-mails to/fr Cole, tel conf w/Cole & Ayers.
6/27/17           2.0      Prep for 6/28/17 hrg; tel conf w/Cole.
6/28/17           3.0      Portal-to-portal tvl and hrg; tel conf w/Cole.
6/29/17           1.5      Tel conf w/Cole; e-mail to/fr Flores.
                 19

July

7/19/17            .25     E-mail to Flores.



Above billed 8/9/17
______________________________________________________________________________

August
8/3/17             .50     Tel conf w/ Slatkin; e-mails to/fr Slatkin; review M Set Trial
8/4/17            1.00     Tel conf w/Cole; e-mails to Flores and Ayers
8/9/17             .50     Misc e-mails.
8/29/17           3.00     Portal-to-portal tvl and hrg re setting trial date; tel conf w/Cole.
8/29/17            .50     E-mails to/fr Ayers re Flores
                  5.5

Above billed 9/15/17
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______________________________________________________________________________


September
9/14/17           1.0        Ltr to Grant Thornton re 2017 audit
9/18/17            .25       Tel conf w/Cole
                  1.25

Above billed 10/13/17

October
10/31/17               .50   Tel conf w/Slatkin and tel conf w/Cole
November
11/1/17           3.25       Tvl to Hrg; email Cole; tel conf w/David Ayers
11/7/17            .50       Email to/fr Slatkin and review of Order Setting Trial.
11/10/17          1.50       Tel confs w/Cole; am & pm
11/22/17          3.00       Draft Resp to 1st Req Produc
11/27/17          1.0        Tel conf w/Slatkin re Req Produc
11/29/17          1.5        Tel conf w/Cole; email to Slatkin
                 10.75

Above billed 12/20/17
________________________

December
12/4/17            .75       Tel conf w/Cole.
12/?/17            .75       Emails to/fr Cole
12/15/17           .50       Emails fr Cole re resp to req produc
January            .00
1/19/18            .50       Tel conf w/Cole
1/26/18            .50       Email fr Cole; email to/fr Slatkin re M Compel Produc
February           .00
2/6/18             .25       Tel conf w/Slatkin
2/8/18            1.00       Email to/fr Slatkin
2/15/18           1.00       Emails to/fr Slatkin; emails to/fr Cole
                  5.25

Above billed 8/10/18

____________________


March
3/13/18           1.00       Audit ltr and email to Grant Thornton re audit ltr
3/21/18            .25       Email to Cole; tel conf w/Slatkin
                   .00
May                .00
5/1/18             .25       Tel conf w/Slatkin re produc and upcoming status conf
5/3/18            1.50       Tel conf w/Cole
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5/4/18             .25      Tel conf w/Slatkin re produc and upcoming status conf
5/11/18           1.00      Tel conf w/Cole
5/22/18            .25      E-mail to/fr Slatkin
5/23/18           2.25      Tel conf w/Cole
5/25/18           2.00      Tel conf w/Cole and Dr. Bulling; tel conf prep
5/28/18           1.50      Tel conf w/Cole and Dr. Bulling
                 10.25

Above billed 6/11/18
__________________

June
6/11/18            .25      E-mail fr Cole
                  0.25

August
8/3/18
8/6/18            4.0       Mtg w/Slatkin; review of docs produced by Cole; e-mails to
                            Cole; review e-mails of opposing counsel; review e-mails of
                            Slatkin
8/8/18            1.0       Working lunch w/Slatkin
8/13/18           1.0       E-mails to/fr Cole; E-mails fr Cole enc docs; etc.
8/27/18           5.0       Prep for trial; exh review.
8/28/18           3.0       Prep for trial; exh review; depo review
8/29/18           5.0       Prep for trial; exh review; depo review
                 19
September
9/1/18            5.0       Document review; trial prep
9/2/18            1.0       Prep Exh list
9/3/18            2.0       Document review
9/4/18            3.0       Trial prep; exh list; e-mails w/Slatkin
9/5/18            6.0       Prep for trial; exh list
9/6/18            8.0       Exh list to Root; prep for trial
9/7/18            2.5       Hrg
9/8/18           10.0       Trial prep
9/9/18            8.0       Trial prep
9/10/18           8.0       Trial prep
9/11/18           8.0       Trial prep; mtg w/Slatkin
9/12/18           8.0       Trial prep; mtg w/Cole, witnesses, Slatkin
9/13/18           9.0       Trial; tel conf w/Cole
9/14/18            .25      Tel conf w/Slatkin
9/20/18           4.00      Findings of Fact
9/25/18           4.00      Decision Memo and Final Judgment
9/26/18            .50      KBS review of Decision Memo and Findings and Conclusions
9/26/18           2.00      CAA review of Decision Memo and Findings and Conclusions
9/27/18           1.00      CAA review of Final Judgment
                 90.25

Above billed 10/4/18
________________
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12/13/18          .50      Review Final Judgment and Memo Decision; e-mail to clt
12/19/18         1.00      Tel conf w/Cole.
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Search for: 23321-0001 Search by: Matter ID Stage: (all) Type: (all)


                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units    Price      Value
Component: 04

10/1/2013    Trans No. 860697          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   04          1.00    413.03     413.03
             Check No. 30630           American Express-Complaint filed
                                                                                                    Component: 04        1.00              413.03

Component: 16

6/9/2014     Trans No. 871876          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   16          1.00     80.00      80.00
             Check No. 77225           Sheriff of Miami-Dade County
                                                                                                    Component: 16        1.00               80.00

Component: 18

12/7/2015    Trans No. 903734          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   18          1.00     15.00      15.00
             Check No. 80044           Camilo Agasim-Pereira a/k/a Baron of Fulwood
                                                                                                    Component: 18        1.00               15.00

Component: 20

2/12/2015    Trans No. 884346          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   20          1.00     40.00      40.00
             Check No. 78424           Palm Beach County Sheriff
2/12/2015    Trans No. 884347          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   20          1.00     40.00      40.00
             Check No. 78425           Sheriff of Miami-Dade County
2/12/2015    Trans No. 884353          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   20          1.00     10.00      10.00
             Check No. 78438           Spiegel & Utrera, P.A.
2/12/2015    Trans No. 884354          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   20          1.00     10.00      10.00
             Check No. 78433           Rebecca Del Medico, Esquire
10/15/2015   Trans No. 900408          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   20          1.00     10.00      10.00
             Check No. 79690           Spiegel & Utrera, P.A.-fee for records

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Search for: 23321-0001 Search by: Matter ID Stage: (all) Type: (all)


                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units    Price      Value
                                                                                                    Component: 20        5.00              110.00

Component: 28

10/28/2013   Trans No. 858650          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   28           1.00     8.75       8.75
             Check No. 75660           Secretary of State
12/10/2013   Trans No. 861979          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   28           1.00   223.00     223.00
             Check No. 75935           Non-Resident Cost Bonds - Clerk, Dade County Circuit Court
                                                                                                    Component: 28        2.00              231.75

Component: 32

10/21/2013   Trans No. 859005          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          46.00     0.30      13.80
             Check No. 0               In-house Photocopying
10/21/2013   Trans No. 859006          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           8.00     0.30       2.40
             Check No. 0               In-house Photocopying
10/21/2013   Trans No. 859007          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           5.00     0.30       1.50
             Check No. 0               In-house Photocopying
10/22/2013   Trans No. 859052          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00     0.30       0.60
             Check No. 0               In-house Photocopying
10/22/2013   Trans No. 859054          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00     0.30       0.90
             Check No. 0               In-house Photocopying
11/22/2013   Trans No. 861257          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          25.00     0.30       7.50
             Check No. 0               In-house Photocopying
5/7/2014     Trans No. 870702          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00     0.30       0.60
             Check No. 0               In-house Photocopying
6/10/2014    Trans No. 872438          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00     0.30       0.30
             Check No. 0               In-house Photocopying


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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price      Value
9/15/2014    Trans No. 877797          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           8.00    0.30       2.40
             Check No. 0               In-house Photocopying
9/15/2014    Trans No. 877801          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30       0.90
             Check No. 0               In-house Photocopying
9/17/2014    Trans No. 877838          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30       0.60
             Check No. 0               In-house Photocopying
12/9/2014    Trans No. 882588          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30       1.20
             Check No. 0               In-house Photocopying
12/9/2014    Trans No. 882600          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30       1.20
             Check No. 0               In-house Photocopying
12/29/2014   Trans No. 883293          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
11/16/2015   Trans No. 903356          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30       0.90
             Check No. 0               In-house Photocopying
12/7/2015    Trans No. 904275          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30       0.90
             Check No. 0               In-house Photocopying
1/14/2016    Trans No. 905764          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           9.00    0.30       2.70
             Check No. 0               In-house Photocopying
1/14/2016    Trans No. 905767          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           5.00    0.30       1.50
             Check No. 0               In-house Photocopying
1/14/2016    Trans No. 905771          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          18.00    0.30       5.40
             Check No. 0               In-house Photocopying
2/4/2016     Trans No. 906991          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30       0.90
             Check No. 0               In-house Photocopying
2/9/2016     Trans No. 907289          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30       0.90
             Check No. 0               In-house Photocopying
2/12/2016    Trans No. 907729          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           8.00    0.30       2.40
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price      Value
9/27/2016    Trans No. 922658          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           6.00    0.30       1.80
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922659          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          11.00    0.30       3.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922660          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922661          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922662          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922663          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922664          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922665          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922666          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922667          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922668          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30       0.60
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922669          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922670          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          28.00    0.30       8.40
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922671          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          12.00    0.30       3.60
             Check No. 0               In-house Photocopying

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Search for: 23321-0001 Search by: Matter ID Stage: (all) Type: (all)


                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code         Units   Price      Value
9/27/2016    Trans No. 922672          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922673          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            6.00    0.30       1.80
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922674          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    0.30       0.60
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 922675          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            6.00    0.30       1.80
             Check No. 0               In-house Photocopying
9/29/2016    Trans No. 922804          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    0.30       0.60
             Check No. 0               In-house Photocopying
9/29/2016    Trans No. 922805          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    1.00       2.00
             Check No. 0               In-house Photocopying
9/29/2016    Trans No. 922806          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/29/2016    Trans No. 922807          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          154.00    0.30      46.20
             Check No. 0               In-house Photocopying
9/29/2016    Trans No. 922808          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           11.00    0.30       3.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925431          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925435          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925460          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925462          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925474          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying

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Search for: 23321-0001 Search by: Matter ID Stage: (all) Type: (all)


                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price      Value
10/20/2016   Trans No. 925476          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925493          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925494          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30       0.90
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925495          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30       0.90
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925496          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925497          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925498          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           6.00    0.30       1.80
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 925499          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          14.00    0.30       4.20
             Check No. 0               In-house Photocopying
10/24/2016   Trans No. 925645          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/24/2016   Trans No. 925708          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/24/2016   Trans No. 925710          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30       0.60
             Check No. 0               In-house Photocopying
10/24/2016   Trans No. 925712          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/19/2016   Trans No. 926334          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30       1.20
             Check No. 0               In-house Photocopying
10/13/2016   Trans No. 926746          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price      Value
10/13/2016   Trans No. 927810          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30       0.30
             Check No. 0               In-house Photocopying
10/10/2016   Trans No. 928073          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          4.00     0.30       1.20
             Check No. 0               In-house Photocopying
10/10/2016   Trans No. 928080          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30       0.60
             Check No. 0               In-house Photocopying
10/10/2016   Trans No. 928103          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30       0.60
             Check No. 0               In-house Photocopying
10/10/2016   Trans No. 928108          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30       0.30
             Check No. 0               In-house Photocopying
10/10/2016   Trans No. 928109          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30       0.30
             Check No. 0               In-house Photocopying
10/13/2016   Trans No. 928174          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30       0.30
             Check No. 0               In-house Photocopying
10/13/2016   Trans No. 928191          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30       0.30
             Check No. 0               In-house Photocopying
10/13/2016   Trans No. 928195          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30       0.30
             Check No. 0               In-house Photocopying
10/13/2016   Trans No. 928197          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30       0.30
             Check No. 0               In-house Photocopying
10/13/2016   Trans No. 928204          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30       0.30
             Check No. 0               In-house Photocopying
10/13/2016   Trans No. 928205          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30       0.30
             Check No. 0               In-house Photocopying
10/13/2016   Trans No. 928209          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30       0.60
             Check No. 0               In-house Photocopying
10/7/2016    Trans No. 928709          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30       0.30
             Check No. 0               In-house Photocopying

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Search for: 23321-0001 Search by: Matter ID Stage: (all) Type: (all)


                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code         Units   Price      Value
10/7/2016    Trans No. 928710          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/7/2016    Trans No. 928711          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/7/2016    Trans No. 929133          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/29/2016    Trans No. 929219          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/29/2016    Trans No. 929288          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    0.30       0.60
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929481          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    0.30       0.60
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929482          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            6.00    0.30       1.80
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929483          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           28.00    0.30       8.40
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929484          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           12.00    0.30       3.60
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929485          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929486          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            6.00    0.30       1.80
             Check No. 0               In-house Photocopying
9/29/2016    Trans No. 929505          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          154.00    0.30      46.20
             Check No. 0               In-house Photocopying
9/29/2016    Trans No. 929507          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           11.00    0.30       3.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929508          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30       0.30
             Check No. 0               In-house Photocopying

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Date                                   Narrative                                                            Code        Units   Price      Value
9/27/2016    Trans No. 929510          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           6.00    0.30       1.80
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929511          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          11.00    0.30       3.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929512          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929514          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929515          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929516          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929518          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929519          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929520          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929521          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
9/27/2016    Trans No. 929526          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30       0.60
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930540          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930560          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30       0.60
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930564          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30       0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
10/20/2016   Trans No. 930565          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          3.00     0.30        0.90
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930566          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930834          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930835          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930859          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930860          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930861          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930863          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930864          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930878          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930880          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930882          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930884          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930891          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
10/26/2016   Trans No. 930895          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930923          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930926          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930934          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 930936          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930937          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          3.00     0.30        0.90
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930940          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          3.00     0.30        0.90
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930944          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          6.00     0.30        1.80
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930945          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          9.00     0.30        2.70
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930946          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930947          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930949          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930951          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930952          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code         Units   Price       Value
10/20/2016   Trans No. 930956          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            3.00    0.30        0.90
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930958          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            3.00    0.30        0.90
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930973          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930986          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930995          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930997          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 930998          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 931008          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 931012          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2016   Trans No. 931094          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            3.00    0.30        0.90
             Check No. 0               In-house Photocopying
10/25/2016   Trans No. 931387          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          822.00    0.30      246.60
             Check No. 0               In-house Photocopying
10/25/2016   Trans No. 931738          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/25/2016   Trans No. 931742          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 931977          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying

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Date                                   Narrative                                                            Code        Units   Price       Value
10/26/2016   Trans No. 932058          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 932064          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 932072          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 932076          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 932079          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 932082          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 932083          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 932090          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 932093          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 932095          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2016   Trans No. 932096          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/28/2016   Trans No. 932584          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
11/15/2016   Trans No. 940535          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
11/15/2016   Trans No. 940536          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          5.00     0.30        1.50
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
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11/15/2016   Trans No. 940537          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
11/15/2016   Trans No. 940538          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
11/15/2016   Trans No. 940756          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          63.00    0.30       18.90
             Check No. 0               In-house Photocopying
11/15/2016   Trans No. 940757          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          87.00    0.30       26.10
             Check No. 0               In-house Photocopying
11/15/2016   Trans No. 940761          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
11/16/2016   Trans No. 941019          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
11/16/2016   Trans No. 941149          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30        1.20
             Check No. 0               In-house Photocopying
1/13/2017    Trans No. 944934          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           6.00    0.30        1.80
             Check No. 0               In-house Photocopying
12/9/2016    Trans No. 952687          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           5.00    0.30        1.50
             Check No. 0               In-house Photocopying
12/9/2016    Trans No. 952802          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30        0.90
             Check No. 0               In-house Photocopying
12/14/2016   Trans No. 953294          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30        1.20
             Check No. 0               In-house Photocopying
12/14/2016   Trans No. 953522          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30        1.20
             Check No. 0               In-house Photocopying
12/23/2016   Trans No. 955173          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
1/27/2017    Trans No. 955921          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying

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Date                                   Narrative                                                            Code        Units   Price       Value
1/27/2017    Trans No. 955925          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
1/27/2017    Trans No. 955926          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
1/27/2017    Trans No. 955927          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
1/30/2017    Trans No. 956179          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
2/1/2017     Trans No. 957435          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          3.00     0.30        0.90
             Check No. 0               In-house Photocopying
2/14/2017    Trans No. 962847          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
2/14/2017    Trans No. 962860          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
2/14/2017    Trans No. 962861          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
2/14/2017    Trans No. 962872          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
2/20/2017    Trans No. 964713          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
2/20/2017    Trans No. 964714          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
2/20/2017    Trans No. 964716          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          4.00     0.30        1.20
             Check No. 0               In-house Photocopying
2/21/2017    Trans No. 965123          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
2/22/2017    Trans No. 965299          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
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2/22/2017    Trans No. 965354          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
2/23/2017    Trans No. 965669          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          3.00     0.30        0.90
             Check No. 0               In-house Photocopying
3/1/2017     Trans No. 967356          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/1/2017     Trans No. 967357          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
3/1/2017     Trans No. 967486          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          7.00     0.30        2.10
             Check No. 0               In-house Photocopying
3/1/2017     Trans No. 967504          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          7.00     0.30        2.10
             Check No. 0               In-house Photocopying
3/1/2017     Trans No. 967570          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/1/2017     Trans No. 967620          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          6.00     0.30        1.80
             Check No. 0               In-house Photocopying
3/1/2017     Trans No. 967705          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/13/2017    Trans No. 971766          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/13/2017    Trans No. 971767          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
3/13/2017    Trans No. 971769          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/13/2017    Trans No. 971770          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
3/15/2017    Trans No. 972565          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
3/15/2017    Trans No. 972578          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/15/2017    Trans No. 972594          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/15/2017    Trans No. 972595          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
4/13/2017    Trans No. 982478          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
5/19/2017    Trans No. 996326          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
5/19/2017    Trans No. 996327          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
5/19/2017    Trans No. 996368          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
5/19/2017    Trans No. 996369          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
6/1/2017     Trans No. 999689          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
6/1/2017     Trans No. 999873          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
6/1/2017     Trans No. 999875          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
6/1/2017     Trans No. 999950          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
6/7/2017     Trans No. 1002090         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          4.00     0.30        1.20
             Check No. 0               In-house Photocopying
6/7/2017     Trans No. 1002092         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
6/7/2017     Trans No. 1002094         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
6/8/2017     Trans No. 1002462         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
6/8/2017     Trans No. 1002678         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30        0.90
             Check No. 0               In-house Photocopying
6/12/2017    Trans No. 1004263         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
6/12/2017    Trans No. 1004264         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
6/12/2017    Trans No. 1004265         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
6/27/2017    Trans No. 1009080         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
6/27/2017    Trans No. 1009083         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          24.00    0.30        7.20
             Check No. 0               In-house Photocopying
6/27/2017    Trans No. 1009092         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           6.00    0.30        1.80
             Check No. 0               In-house Photocopying
6/27/2017    Trans No. 1009094         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30        1.20
             Check No. 0               In-house Photocopying
7/11/2017    Trans No. 1011911         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
8/7/2017     Trans No. 1020631         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
8/9/2017     Trans No. 1021087         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
8/9/2017     Trans No. 1021129         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
8/9/2017     Trans No. 1021131         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/14/2017    Trans No. 1029633         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/14/2017    Trans No. 1029661         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/14/2017    Trans No. 1029678         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/15/2017    Trans No. 1029728         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/21/2017    Trans No. 1030606         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/21/2017    Trans No. 1032330         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/21/2017    Trans No. 1032332         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/12/2017   Trans No. 1037240         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
10/12/2017   Trans No. 1037247         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
10/18/2017   Trans No. 1038586         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/18/2017   Trans No. 1038589         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2017   Trans No. 1039530         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
10/20/2017   Trans No. 1039531         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
10/26/2017   Trans No. 1041352         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2017   Trans No. 1041359         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/26/2017   Trans No. 1041363         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
11/1/2017    Trans No. 1042800         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          12.00    0.30        3.60
             Check No. 0               In-house Photocopying
11/27/2017   Trans No. 1049555         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
11/27/2017   Trans No. 1049562         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30        1.20
             Check No. 0               In-house Photocopying
11/27/2017   Trans No. 1049564         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30        1.20
             Check No. 0               In-house Photocopying
11/27/2017   Trans No. 1049581         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
11/27/2017   Trans No. 1049584         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
11/30/2017   Trans No. 1050844         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          44.00    0.30       13.20
             Check No. 0               In-house Photocopying
12/8/2017    Trans No. 1053068         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
12/20/2017   Trans No. 1056764         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
12/20/2017   Trans No. 1056812         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
12/20/2017   Trans No. 1056813         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
12/20/2017   Trans No. 1056832         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
1/2/2018     Trans No. 1057876         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
1/2/2018     Trans No. 1057984         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
1/2/2018     Trans No. 1057997         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
1/2/2018     Trans No. 1058026         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
2/10/2018    Trans No. 1071541         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          4.00     0.30        1.20
             Check No. 0               In-house Photocopying
3/8/2018     Trans No. 1080377         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
3/8/2018     Trans No. 1080378         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/10/2018    Trans No. 1080869         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/10/2018    Trans No. 1080870         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/10/2018    Trans No. 1080883         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/10/2018    Trans No. 1080884         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/10/2018    Trans No. 1080885         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/13/2018    Trans No. 1081690         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
3/22/2018    Trans No. 1084142         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
3/22/2018    Trans No. 1084143         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
4/6/2018     Trans No. 1089072         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
5/4/2018     Trans No. 1097656         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
5/19/2018    Trans No. 1101960         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
5/19/2018    Trans No. 1101961         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
5/28/2018    Trans No. 1103389         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
5/28/2018    Trans No. 1103412         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          6.00     0.30        1.80
             Check No. 0               In-house Photocopying
5/23/2018    Trans No. 1103577         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          6.00     0.30        1.80
             Check No. 0               In-house Photocopying
5/21/2018    Trans No. 1104301         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
6/8/2018     Trans No. 1108794         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
6/11/2018    Trans No. 1109219         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
6/11/2018    Trans No. 1109231         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
6/11/2018    Trans No. 1109233         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
6/11/2018    Trans No. 1109396         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
6/11/2018    Trans No. 1109414         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
6/13/2018    Trans No. 1110229         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
6/16/2018    Trans No. 1110691         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
6/16/2018    Trans No. 1110692         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
6/16/2018    Trans No. 1110693         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
8/6/2018     Trans No. 1123261         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          6.00     0.30        1.80
             Check No. 0               In-house Photocopying
8/6/2018     Trans No. 1123263         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
8/6/2018     Trans No. 1123264         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
8/6/2018     Trans No. 1123266         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
8/6/2018     Trans No. 1123279         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
8/6/2018     Trans No. 1123301         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
8/6/2018     Trans No. 1123408         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
8/6/2018     Trans No. 1123429         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          8.00     0.30        2.40
             Check No. 0               In-house Photocopying

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Date                                   Narrative                                                            Code         Units   Price       Value
8/10/2018    Trans No. 1124612         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          190.00    0.30       57.00
             Check No. 0               In-house Photocopying
8/10/2018    Trans No. 1124659         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            8.00    0.30        2.40
             Check No. 0               In-house Photocopying
8/10/2018    Trans No. 1124660         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           11.00    0.30        3.30
             Check No. 0               In-house Photocopying
8/10/2018    Trans No. 1124661         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            5.00    0.30        1.50
             Check No. 0               In-house Photocopying
8/10/2018    Trans No. 1124662         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            4.00    0.30        1.20
             Check No. 0               In-house Photocopying
8/10/2018    Trans No. 1124667         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            9.00    0.30        2.70
             Check No. 0               In-house Photocopying
8/10/2018    Trans No. 1124719         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            5.00    0.30        1.50
             Check No. 0               In-house Photocopying
8/10/2018    Trans No. 1124734         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            4.00    0.30        1.20
             Check No. 0               In-house Photocopying
8/10/2018    Trans No. 1124736         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           21.00    0.30        6.30
             Check No. 0               In-house Photocopying
8/10/2018    Trans No. 1124745         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           77.00    0.30       23.10
             Check No. 0               In-house Photocopying
8/30/2018    Trans No. 1129592         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    0.30        0.60
             Check No. 0               In-house Photocopying
8/30/2018    Trans No. 1129593         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
8/30/2018    Trans No. 1129594         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
8/30/2018    Trans No. 1129695         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           11.00    0.30        3.30
             Check No. 0               In-house Photocopying

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Date                                   Narrative                                                            Code        Units   Price       Value
8/30/2018    Trans No. 1129698         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           9.00    0.30        2.70
             Check No. 0               In-house Photocopying
8/30/2018    Trans No. 1129702         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          21.00    0.30        6.30
             Check No. 0               In-house Photocopying
8/30/2018    Trans No. 1129704         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30        1.20
             Check No. 0               In-house Photocopying
9/4/2018     Trans No. 1130221         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           8.00    0.30        2.40
             Check No. 0               In-house Photocopying
9/4/2018     Trans No. 1130313         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/4/2018     Trans No. 1130330         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           7.00    0.30        2.10
             Check No. 0               In-house Photocopying
9/5/2018     Trans No. 1130554         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/6/2018     Trans No. 1130712         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/6/2018     Trans No. 1130748         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30        1.20
             Check No. 0               In-house Photocopying
9/7/2018     Trans No. 1130955         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30        1.20
             Check No. 0               In-house Photocopying
9/7/2018     Trans No. 1130957         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/7/2018     Trans No. 1130998         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/7/2018     Trans No. 1130999         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30        1.20
             Check No. 0               In-house Photocopying
9/7/2018     Trans No. 1131001         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          10.00    0.30        3.00
             Check No. 0               In-house Photocopying

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Date                                   Narrative                                                            Code         Units   Price       Value
9/7/2018     Trans No. 1131002         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/7/2018     Trans No. 1131003         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/7/2018     Trans No. 1131004         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/8/2018     Trans No. 1131087         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131500         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131501         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131502         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            5.00    0.30        1.50
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131512         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           67.00    0.30       20.10
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131513         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           21.00    0.30        6.30
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131514         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           44.00    0.30       13.20
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131515         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          196.00    0.30       58.80
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131516         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          259.00    0.30       77.70
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131517         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          270.00    0.30       81.00
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131518         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           16.00    0.30        4.80
             Check No. 0               In-house Photocopying

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Date                                   Narrative                                                            Code         Units   Price       Value
9/10/2018    Trans No. 1131519         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           27.00    0.30        8.10
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131520         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          151.00    0.30       45.30
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131521         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            4.00    0.30        1.20
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131522         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            6.00    0.30        1.80
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131523         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           11.00    0.30        3.30
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131524         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            9.00    0.30        2.70
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131525         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            9.00    0.30        2.70
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131583         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131591         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131595         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            9.00    0.30        2.70
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131613         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           18.00    0.30        5.40
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131615         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           12.00    0.30        3.60
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131616         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           54.00    0.30       16.20
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131618         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           12.00    0.30        3.60
             Check No. 0               In-house Photocopying

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Date                                   Narrative                                                            Code         Units   Price       Value
9/10/2018    Trans No. 1131619         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          129.00    0.30       38.70
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131620         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          450.00    0.30      135.00
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131621         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          288.00    0.30       86.40
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131624         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          180.00    0.30       54.00
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131625         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            9.00    0.30        2.70
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131626         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           27.00    0.30        8.10
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131627         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           12.00    0.30        3.60
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131633         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           24.00    0.30        7.20
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131661         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            7.00    0.30        2.10
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131709         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           11.00    0.30        3.30
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131710         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131713         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131717         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131739         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying

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9/10/2018    Trans No. 1131741         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            3.00    0.30        0.90
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131742         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           96.00    0.30       28.80
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131743         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           60.00    0.30       18.00
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131744         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            4.00    0.30        1.20
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131745         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            4.00    0.30        1.20
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131746         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           43.00    0.30       12.90
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131747         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          150.00    0.30       45.00
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131748         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            4.00    0.30        1.20
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131749         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           18.00    0.30        5.40
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131759         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           12.00    0.30        3.60
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131760         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          201.00    0.30       60.30
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131788         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          453.00    0.30      135.90
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131789         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          132.00    0.30       39.60
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131790         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           63.00    0.30       18.90
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code         Units   Price       Value
9/10/2018    Trans No. 1131791         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           81.00    0.30       24.30
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131792         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           48.00    0.30       14.40
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131793         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          810.00    0.30      243.00
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131794         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          777.00    0.30      233.10
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131795         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          588.00    0.30      176.40
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131796         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           33.00    0.30        9.90
             Check No. 0               In-house Photocopying
9/10/2018    Trans No. 1131797         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           27.00    0.30        8.10
             Check No. 0               In-house Photocopying
9/11/2018    Trans No. 1131813         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/11/2018    Trans No. 1131841         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/11/2018    Trans No. 1131951         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/11/2018    Trans No. 1131987         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            4.00    0.30        1.20
             Check No. 0               In-house Photocopying
9/11/2018    Trans No. 1131988         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/11/2018    Trans No. 1131991         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            8.00    0.30        2.40
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132046         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying

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Date                                   Narrative                                                            Code        Units   Price       Value
9/12/2018    Trans No. 1132047         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132050         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132051         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132052         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132056         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132069         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132074         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132083         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          4.00     0.30        1.20
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132086         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132141         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132143         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132145         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          3.00     0.30        0.90
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132146         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132148         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code         Units   Price       Value
9/12/2018    Trans No. 1132149         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132151         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            3.00    0.30        0.90
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132153         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132155         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132174         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            8.00    0.30        2.40
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132177         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           20.00    0.30        6.00
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132185         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           48.00    0.30       14.40
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132186         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           23.00    0.30        6.90
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132187         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          152.00    0.30       45.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132216         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           19.00    0.30        5.70
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132218         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            4.00    0.30        1.20
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132245         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132246         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132249         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32            1.00    0.30        0.30
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
9/12/2018    Trans No. 1132251         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132255         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132256         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132259         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          8.00     0.30        2.40
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132294         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          4.00     0.30        1.20
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132302         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          4.00     0.30        1.20
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132303         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132304         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132305         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132306         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132307         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132308         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132309         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          4.00     0.30        1.20
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132310         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
9/12/2018    Trans No. 1132311         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132317         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132319         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132320         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30        0.90
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132322         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132323         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132324         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132325         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132326         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          84.00    0.30       25.20
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132327         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           5.00    0.30        1.50
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132328         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132329         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132330         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           5.00    0.30        1.50
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132331         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
9/12/2018    Trans No. 1132332         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132333         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          3.00     0.30        0.90
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132334         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132335         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132336         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132337         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          5.00     0.30        1.50
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132338         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132339         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132340         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132342         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132344         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132346         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          1.00     0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132347         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          2.00     0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132348         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          4.00     0.30        1.20
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
9/12/2018    Trans No. 1132349         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132351         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132352         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30        0.90
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132353         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           6.00    0.30        1.80
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132354         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          10.00    0.30        3.00
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132355         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           5.00    0.30        1.50
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132356         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132357         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132358         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132359         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132360         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30        0.90
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132361         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132362         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132363         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          19.00    0.30        5.70
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
9/12/2018    Trans No. 1132364         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30        0.90
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132365         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132366         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           7.00    0.30        2.10
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132367         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          52.00    0.30       15.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132368         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132369         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132370         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           6.00    0.30        1.80
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132371         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           4.00    0.30        1.20
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132372         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132373         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132374         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132375         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          11.00    0.30        3.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132376         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
9/12/2018    Trans No. 1132377         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
9/28/2018    Trans No. 1135578         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           3.00    0.30        0.90
             Check No. 0               In-house Photocopying
9/28/2018    Trans No. 1135693         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32          13.00    0.30        3.90
             Check No. 0               In-house Photocopying
9/28/2018    Trans No. 1135718         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/19/2018   Trans No. 1140425         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
10/19/2018   Trans No. 1140426         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           1.00    0.30        0.30
             Check No. 0               In-house Photocopying
11/15/2018   Trans No. 1147025         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   32           2.00    0.30        0.60
             Check No. 0               In-house Photocopying
                                                                                                    Component: 32   9,188.00             2,757.80

Component: 33

12/6/2013    Trans No. 861748          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33           1.00   36.14       36.14
             Check No. 0               In-house Phone
12/10/2013   Trans No. 862237          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33           1.00    1.39        1.39
             Check No. 0               In-house Phone
12/18/2013   Trans No. 862675          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33           1.00    1.39        1.39
             Check No. 0               In-house Phone
12/23/2013   Trans No. 862858          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33           1.00    1.39        1.39
             Check No. 0               In-house Phone
6/2/2014     Trans No. 871943          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33           1.00    8.04        8.04
             Check No. 0               In-house Phone
6/26/2014    Trans No. 873185          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33           1.00    2.78        2.78
             Check No. 0               In-house Phone


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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units    Price       Value
7/17/2014    Trans No. 874615          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      2.78        2.78
             Check No. 0               In-house Phone
7/21/2014    Trans No. 875480          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      2.78        2.78
             Check No. 0               In-house Phone
7/29/2014    Trans No. 875578          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      5.56        5.56
             Check No. 0               In-house Phone
8/7/2014     Trans No. 875774          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      2.78        2.78
             Check No. 0               In-house Phone
8/12/2014    Trans No. 876152          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      1.39        1.39
             Check No. 0               In-house Phone
8/22/2014    Trans No. 876563          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      8.93        8.93
             Check No. 0               In-house Phone
8/22/2014    Trans No. 876564          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     44.65       44.65
             Check No. 0               In-house Phone
9/16/2014    Trans No. 877612          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    125.02      125.02
             Check No. 0               In-house Phone
9/17/2014    Trans No. 877636          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      1.39        1.39
             Check No. 0               In-house Phone
9/18/2014    Trans No. 877642          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      1.39        1.39
             Check No. 0               In-house Phone
2/11/2015    Trans No. 885550          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      1.13        1.13
             Check No. 0               In-house Phone
11/4/2015    Trans No. 902471          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      9.73        9.73
             Check No. 0               In-house Phone
11/16/2015   Trans No. 903285          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      1.39        1.39
             Check No. 0               In-house Phone
1/14/2016    Trans No. 905662          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      3.22        3.22
             Check No. 0               In-house Phone

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units    Price       Value
2/19/2016    Trans No. 907691          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     24.00       24.00
             Check No. 0               In-house Phone
2/22/2016    Trans No. 908026          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     17.86       17.86
             Check No. 0               In-house Phone
2/24/2016    Trans No. 908046          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    374.00      374.00
             Check No. 0               In-house Phone
2/25/2016    Trans No. 908059          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      8.04        8.04
             Check No. 0               In-house Phone
2/25/2016    Trans No. 908060          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    362.00      362.00
             Check No. 0               In-house Phone
5/17/2016    Trans No. 913324          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    108.41      108.41
             Check No. 0               In-house Phone
5/18/2016    Trans No. 913335          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      4.00        4.00
             Check No. 0               In-house Phone
8/12/2016    Trans No. 919369          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     59.77       59.77
             Check No. 0               In-house Phone
8/24/2016    Trans No. 920325          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     88.95       88.95
             Check No. 0               In-house Phone
2/10/2017    Trans No. 960811          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      8.34        8.34
             Check No. 0               In-house Phone
1/24/2017    Trans No. 961429          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     60.00       60.00
             Check No. 0               In-house Phone
11/18/2016   Trans No. 961607          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      2.00        2.00
             Check No. 0               In-house Phone
11/18/2016   Trans No. 961610          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          0.03     16.00        0.40
             Check No. 0               In-house Phone
11/18/2016   Trans No. 964217          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     15.60       15.60
             Check No. 0               In-house Phone

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
3/8/2017     Trans No. 969891          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    22.24       22.24
             Check No. 0               In-house Phone
5/9/2017     Trans No. 991942          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     1.39        1.39
             Check No. 0               In-house Phone
5/9/2017     Trans No. 991943          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    18.07       18.07
             Check No. 0               In-house Phone
5/9/2017     Trans No. 991944          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     1.39        1.39
             Check No. 0               In-house Phone
5/9/2017     Trans No. 991946          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    38.92       38.92
             Check No. 0               In-house Phone
5/9/2017     Trans No. 991947          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    54.21       54.21
             Check No. 0               In-house Phone
10/31/2017   Trans No. 1042226         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     1.39        1.39
             Check No. 0               In-house Phone
10/31/2017   Trans No. 1042227         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     1.39        1.39
             Check No. 0               In-house Phone
11/10/2017   Trans No. 1044445         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     1.39        1.39
             Check No. 0               In-house Phone
11/10/2017   Trans No. 1044446         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     1.39        1.39
             Check No. 0               In-house Phone
11/10/2017   Trans No. 1044447         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    76.45       76.45
             Check No. 0               In-house Phone
11/10/2017   Trans No. 1044451         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     1.39        1.39
             Check No. 0               In-house Phone
11/10/2017   Trans No. 1044452         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    65.33       65.33
             Check No. 0               In-house Phone
11/29/2017   Trans No. 1049439         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     2.00        2.00
             Check No. 0               In-house Phone

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units    Price       Value
11/29/2017   Trans No. 1049440         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      2.00        2.00
             Check No. 0               In-house Phone
5/11/2018    Trans No. 1097209         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      2.00        2.00
             Check No. 0               In-house Phone
5/11/2018    Trans No. 1097210         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          0.22     98.00       21.70
             Check No. 0               In-house Phone
5/23/2018    Trans No. 1102389         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      2.00        2.00
             Check No. 0               In-house Phone
5/23/2018    Trans No. 1102390         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    272.00      272.00
             Check No. 0               In-house Phone
5/11/2018    Trans No. 1110753         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     76.30       76.30
             Check No. 0               In-house Phone
8/3/2018     Trans No. 1121593         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      1.39        1.39
             Check No. 0               In-house Phone
8/3/2018     Trans No. 1121594         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      2.00        2.00
             Check No. 0               In-house Phone
9/7/2018     Trans No. 1130157         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      2.78        2.78
             Check No. 0               In-house Phone
9/7/2018     Trans No. 1130158         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      2.78        2.78
             Check No. 0               In-house Phone
9/7/2018     Trans No. 1130159         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      4.17        4.17
             Check No. 0               In-house Phone
9/10/2018    Trans No. 1131393         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      2.78        2.78
             Check No. 0               In-house Phone
9/10/2018    Trans No. 1131396         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      1.39        1.39
             Check No. 0               In-house Phone
9/10/2018    Trans No. 1131397         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      9.73        9.73
             Check No. 0               In-house Phone

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
9/10/2018    Trans No. 1131399         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     9.73        9.73
             Check No. 0               In-house Phone
9/10/2018    Trans No. 1131403         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     9.73        9.73
             Check No. 0               In-house Phone
9/10/2018    Trans No. 1131404         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     5.56        5.56
             Check No. 0               In-house Phone
9/10/2018    Trans No. 1131405         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     8.34        8.34
             Check No. 0               In-house Phone
9/10/2018    Trans No. 1131406         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     1.39        1.39
             Check No. 0               In-house Phone
9/10/2018    Trans No. 1131407         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    15.29       15.29
             Check No. 0               In-house Phone
9/10/2018    Trans No. 1131410         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    13.90       13.90
             Check No. 0               In-house Phone
9/11/2018    Trans No. 1131417         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     2.78        2.78
             Check No. 0               In-house Phone
9/11/2018    Trans No. 1131420         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     2.78        2.78
             Check No. 0               In-house Phone
9/11/2018    Trans No. 1131424         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     2.78        2.78
             Check No. 0               In-house Phone
9/12/2018    Trans No. 1131430         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     1.39        1.39
             Check No. 0               In-house Phone
9/12/2018    Trans No. 1131431         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     2.78        2.78
             Check No. 0               In-house Phone
10/4/2018    Trans No. 1136008         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00     1.39        1.39
             Check No. 0               In-house Phone
10/4/2018    Trans No. 1136009         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    52.82       52.82
             Check No. 0               In-house Phone

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units    Price       Value
10/12/2018   Trans No. 1137528         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00      1.39        1.39
             Check No. 0               In-house Phone
10/12/2018   Trans No. 1137529         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   33          1.00    130.66      130.66
             Check No. 0               In-house Phone
                                                                                                    Component: 33       76.25             2,349.32

Component: 34

3/10/2014    Trans No. 867461          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   34          2.00      1.00        2.00
             Check No. 0               In-house Fax
7/31/2014    Trans No. 875245          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   34          2.00      1.00        2.00
             Check No. 0               In-house Fax
8/12/2014    Trans No. 876313          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   34          2.00      1.00        2.00
             Check No. 0               In-house Fax
11/13/2015   Trans No. 903078          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   34          3.00      1.00        3.00
             Check No. 0               In-house Fax
                                                                                                    Component: 34        9.00                 9.00

Component: 35

11/22/2013   Trans No. 860997          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     21.05       21.05
             Check No. 0               In-house Postage
11/22/2013   Trans No. 860998          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     21.05       21.05
             Check No. 0               In-house Postage
11/22/2013   Trans No. 860999          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     21.05       21.05
             Check No. 0               In-house Postage
11/22/2013   Trans No. 861000          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     20.90       20.90
             Check No. 0               In-house Postage


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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
12/2/2013    Trans No. 861599          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     0.66        0.66
             Check No. 0               In-house Postage
6/10/2014    Trans No. 872315          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     1.11        1.11
             Check No. 0               In-house Postage
9/23/2014    Trans No. 878182          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     0.48        0.48
             Check No. 0               In-house Postage
12/5/2014    Trans No. 881717          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     2.87        2.87
             Check No. 0               In-house Postage
2/13/2015    Trans No. 885129          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     1.38        1.38
             Check No. 0               In-house Postage
10/1/2015    Trans No. 899948          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     0.49        0.49
             Check No. 0               In-house Postage
10/9/2015    Trans No. 901262          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     0.49        0.49
             Check No. 0               In-house Postage
10/15/2015   Trans No. 901338          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     6.96        6.96
             Check No. 0               In-house Postage
11/12/2015   Trans No. 902822          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     0.49        0.49
             Check No. 0               In-house Postage
11/12/2015   Trans No. 902823          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     6.74        6.74
             Check No. 0               In-house Postage
1/5/2016     Trans No. 905154          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     2.08        2.08
             Check No. 0               In-house Postage
1/18/2016    Trans No. 905934          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     0.49        0.49
             Check No. 0               In-house Postage
2/3/2016     Trans No. 906867          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     0.49        0.49
             Check No. 0               In-house Postage
2/9/2016     Trans No. 907174          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35          1.00     0.71        0.71
             Check No. 0               In-house Postage

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
4/12/2016    Trans No. 910211          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35           1.00    0.68        0.68
             Check No. 0               In-house Postage
7/29/2016    Trans No. 918452          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35           1.00    0.47        0.47
             Check No. 0               In-house Postage
8/22/2016    Trans No. 920228          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   35           1.00    0.47        0.47
             Check No. 0               In-house Postage
                                                                                                    Component: 35       21.00              111.11

Component: 36

8/9/2017     Trans No. 1020119         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           2.00    0.30        0.60
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020120         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36          17.00    0.30        5.10
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020121         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36          10.00    0.30        3.00
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020122         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           4.00    0.30        1.20
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020123         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           1.00    0.30        0.30
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020124         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           1.00    0.30        0.30
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020125         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           7.00    0.30        2.10
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020126         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           1.00    0.30        0.30
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020127         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           5.00    0.30        1.50
             Check No. 0               In-house Scans


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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
8/9/2017     Trans No. 1020128         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           1.00    0.30        0.30
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020129         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           1.00    0.30        0.30
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020130         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           6.00    0.30        1.80
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020131         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           1.00    0.30        0.30
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020132         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           5.00    0.30        1.50
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020133         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           2.00    0.30        0.60
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020134         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           5.00    0.30        1.50
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020135         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           8.00    0.30        2.40
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020136         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           1.00    0.30        0.30
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020137         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           2.00    0.30        0.60
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020138         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           2.00    0.30        0.60
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020139         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36          27.00    0.30        8.10
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020140         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36          23.00    0.30        6.90
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020141         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36          17.00    0.30        5.10
             Check No. 0               In-house Scans

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code         Units   Price       Value
8/9/2017     Trans No. 1020142         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36           18.00    0.30        5.40
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020143         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36            1.00    0.30        0.30
             Check No. 0               In-house Scans
8/9/2017     Trans No. 1020144         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36            3.00    0.30        0.90
             Check No. 0               In-house Scans
9/4/2018     Trans No. 1129955         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36          196.00    0.30       58.80
             Check No. 0               In-house Scans
9/12/2018    Trans No. 1131293         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   36          373.00    0.30      111.90
             Check No. 0               In-house Scans
                                                                                                    Component: 36       740.00              222.00

Component: CD/DVD

9/17/2014    Trans No. 878586          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   CD/DVD        1.00    5.00        5.00
             Check No. 0               CD & DVD Disks
2/5/2016     Trans No. 908616          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   CD/DVD        3.00    5.00       15.00
             Check No. 0               CD & DVD Disks - CD's
                                                                                              Component: CD/DVD           4.00               20.00

Component: ColorPrnt

9/29/2016    Trans No. 929351          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt     2.00    1.00        2.00
             Check No. 0               Color Prints
3/13/2017    Trans No. 971820          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt     1.00    1.00        1.00
             Check No. 0               Color Prints
5/20/2017    Trans No. 996435          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt     1.00    1.00        1.00
             Check No. 0               Color Prints


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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
6/7/2017     Trans No. 1002087         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt   18.00    1.00       18.00
             Check No. 0               Color Prints
6/7/2017     Trans No. 1002091         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
6/27/2017    Trans No. 1009095         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
9/14/2017    Trans No. 1029686         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
10/20/2017   Trans No. 1039538         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
11/27/2017   Trans No. 1049556         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    6.00    1.00        6.00
             Check No. 0               Color Prints
3/8/2018     Trans No. 1080379         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
3/13/2018    Trans No. 1081828         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
5/4/2018     Trans No. 1097662         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
5/18/2018    Trans No. 1101626         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    3.00    1.00        3.00
             Check No. 0               Color Prints
5/18/2018    Trans No. 1101627         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
5/18/2018    Trans No. 1101628         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
5/18/2018    Trans No. 1101629         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt   20.00    1.00       20.00
             Check No. 0               Color Prints
5/18/2018    Trans No. 1101630         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    6.00    1.00        6.00
             Check No. 0               Color Prints

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
5/18/2018    Trans No. 1101631         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    2.00    1.00        2.00
             Check No. 0               Color Prints
5/18/2018    Trans No. 1101632         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    5.00    1.00        5.00
             Check No. 0               Color Prints
5/18/2018    Trans No. 1101634         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.54    1.00        1.54
             Check No. 0               Color Prints
9/12/2018    Trans No. 1132257         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
9/12/2018    Trans No. 1132269         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
9/12/2018    Trans No. 1132270         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
9/12/2018    Trans No. 1132314         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
9/12/2018    Trans No. 1132316         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    2.00    1.00        2.00
             Check No. 0               Color Prints
9/12/2018    Trans No. 1132318         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    3.00    1.00        3.00
             Check No. 0               Color Prints
9/12/2018    Trans No. 1132321         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
9/14/2018    Trans No. 1132638         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt   12.00    1.00       12.00
             Check No. 0               Color Prints
9/28/2018    Trans No. 1135579         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
10/19/2018   Trans No. 1140468         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   ColorPrnt    1.00    1.00        1.00
             Check No. 0               Color Prints
                                                                                             Component: ColorPrnt       98.54               98.54



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                                       Matter ID / Matter Description                                          Component
Date                                   Narrative                                                               Code        Units     Price        Value
Component: Copies

5/23/2014    Trans No. 872575          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Copies      1.00       1.50         1.50
             Check No. 31284           Dwayne C. Remley: Copies
8/19/2014    Trans No. 876378          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Copies      1.00     157.58       157.58
             Check No. 77796           JPMorgan Chase Bank, N.A. (Subpoena: Copies-Case ID:
                                       SB568720-11)
9/17/2014    Trans No. 877444          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Copies      1.00       6.60         6.60
             Check No. 77747           JPMorgan Chase Bank, N.A. (Inv # 23321-Kaika) ID: SB568720-12
9/13/2018    Trans No. 1131146         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Copies      1.00     100.26       100.26
             Check No. 85177           JPMorgan Chase Bank, N.A. (inv.#091118-Kaika) Copies:Chase File#
                                       SB568720-13 9/11/18(Kaika)
                                                                                                Component: Copies           4.00                 265.94

Component: Fees

10/28/2013   Trans No. 858649          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00    5,640.00    5,640.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
                                       September 1 - 30, 2013
                                       Professional Services Rendered
12/6/2013    Trans No. 861584          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00    4,460.80    4,460.80
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al. - Fees & Costs
                                       (Inv # 23321-2) Oct.2013
12/6/2013    Trans No. 861585          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00     979.20       979.20
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.-Fees & Costs
                                       (Inv # 23321-2) Oct.2013
12/16/2013   Trans No. 862034          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00    4,784.00    4,784.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.-Fees/Costs-Nov
                                       2013
12/16/2013   Trans No. 862035          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00     416.00       416.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al. -Fees/Costs-Nov

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units       Price       Value
                                       2013
2/6/2014     Trans No. 865053          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00     2,960.00    2,960.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al. - Fees
3/26/2014    Trans No. 867999          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00     2,706.00    2,706.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al. - Kaika
                                       SAS-Fees
3/26/2014    Trans No. 868000          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00      594.00       594.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
7/8/2014     Trans No. 874023          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00     8,613.00    8,613.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
7/8/2014     Trans No. 874024          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00     1,287.00    1,287.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
9/5/2014     Trans No. 877086          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00    22,700.00   22,700.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
                                       Recovery Invoice 23321-7
10/21/2014   Trans No. 879764          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00     7,700.00    7,700.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
                                       Invoice 23321-8
1/1/2015     Trans No. 884306          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00     7,300.00    7,300.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
                                       October-December 2014
11/3/2015    Trans No. 903170          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00     6,445.79    6,445.79
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
                                       January - September 2015 Billing Invoice #10
                                       Partial Billing
11/3/2015    Trans No. 903171          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00      411.43       411.43
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
                                       January - September 2015 Billing Invoice #10
                                       Partial Billing



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                                       Matter ID / Matter Description                                           Component
Date                                   Narrative                                                                Code        Units       Price       Value
1/15/2016    Trans No. 905560          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Fees        1.00    11,349.53   11,349.53
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al. - Professional
                                       Services - Sept 2015 - Dec 2015
3/11/2016    Trans No. 908584          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Fees        1.00    19,008.12   19,008.12
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.-Jan-Feb 2016
                                       Billing Invoice #12
3/11/2016    Trans No. 908585          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Fees        1.00     2,715.45    2,715.45
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
4/7/2016     Trans No. 909955          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Fees        1.00     1,825.31    1,825.31
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al. March 2016
                                       Billing Invoice # 13-Fees & Costs
7/28/2016    Trans No. 918340          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Fees        1.00    15,556.35   15,556.35
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al. - April-May 2016
                                       Billing Invoice # 14-Fees
7/28/2016    Trans No. 918341          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Fees        1.00      157.13       157.13
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
8/19/2016    Trans No. 919643          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Fees        1.00      506.45       506.45
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.-June - July 2016
                                       Billing/Invoice # 15-Fees
10/25/2016   Trans No. 923675          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Fees        1.00     9,685.78    9,685.78
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al. -Fees & Costs
                                       Aug-Sept-Invoice # 16
12/19/2016   Trans No. 957102          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Fees        1.00     5,713.19    5,713.19
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
                                       October-November 2016 Billing Invoice #17
12/19/2016   Trans No. 957103          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Fees        1.00      238.05       238.05
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
                                       October-November 2016 Billing Invoice #17
2/23/2017    Trans No. 964218          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Fees        1.00     8,140.13    8,140.13
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.-2016 Billing

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                                       Matter ID / Matter Description                                          Component
Date                                   Narrative                                                               Code        Units       Price       Value
                                       #18-Fees
3/15/2017    Trans No. 971520          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00     2,691.47    2,691.47
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al. - Feb 2017-Inv
                                       #19 Fees
6/2/2017     Trans No. 998710          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00     4,600.00    4,600.00
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.-2017 Billing
                                       Invoice # 20 - Fees & Costs
8/14/2017    Trans No. 1022237         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00     7,686.70    7,686.70
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.-Fees & Costs -
                                       2017 Billing Invoice #21
9/26/2017    Trans No. 1030372         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00     1,995.08    1,995.08
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al. - 3017 Billing
                                       Invoice #22-Fees & Costs
10/27/2017   Trans No. 1037579         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00      475.33       475.33
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.- 2017 Inv #
                                       23-Fees & Costs
1/3/2018     Trans No. 1057463         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00     4,490.87    4,490.87
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al. - 2017 Billing
                                       Invoice #24-Fees & Costs
3/22/2018    Trans No. 1082861         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00     2,093.67    2,093.67
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.-Fees for 2017
                                       Billing Inv.# 25
6/18/2018    Trans No. 1110754         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00     4,092.67    4,092.67
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.-Fees & Costs
                                       Inv# 26
10/22/2018   Trans No. 1140534         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00    18,238.91   18,238.91
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.-Billing Invoice
                                       #27 - Fees and Costs
10/22/2018   Trans No. 1140535         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Fees        1.00       91.66        91.66
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.


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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units       Price       Value
12/14/2018   Trans No. 1151028         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00    24,513.87    24,513.87
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.-2017 Bikking
                                       Invoice #27-a- Fees & Costs
12/14/2018   Trans No. 1151029         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Fees        1.00      123.19       123.19
             Check No. 0               Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.
                                                                                                  Component: Fees       38.00               222,986.13

Component: Invstgn

10/28/2013   Trans No. 859644          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Invstgn     1.00     1,376.29     1,376.29
             Check No. 75723           Ciani Investigations, Inc. (Inv# 2013-135) Invstgn: 10/8-10/23/13
11/7/2013    Trans No. 860589          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Invstgn     1.00      349.51       349.51
             Check No. 75724           Ciani Investigations, Inc.(Inv # 2013-139) Invstgn: 10/31-11/2/13
                                                                                               Component: Invstgn        2.00                 1,725.80

Component: Meetings

7/2/2016     Trans No. 915741          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Meetings    1.00       22.48        22.48
             Check No. 33612           Petty Cash
9/29/2016    Trans No. 921439          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Meetings    1.00       30.25        30.25
             Check No. 33891           Lourdes deJesus
11/7/2016    Trans No. 925203          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Meetings    1.00       10.38        10.38
             Check No. 34020           Petty Cash
10/25/2018   Trans No. 1140602         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Meetings    1.00       26.00        26.00
             Check No. 36056           Petty Cash-CAA/Lunch
                                                                                             Component: Meetings         4.00                   89.11




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                                       Matter ID / Matter Description                                          Component
Date                                   Narrative                                                               Code        Units     Price        Value
Component: Prof Svc

3/24/2016    Trans No. 909381          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00    3,079.63    3,079.63
             Check No. 80455           Slatkin & Reynolds, P.A. (Inv # 17139) Serv: 2/12-2/29/16 (Kaika SAS)
4/11/2016    Trans No. 913572          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00    1,487.50    1,487.50
             Check No. 81170           Slatkin & Reynolds, P.A. (Inv # 17204) Serv: 2/25/16-3/29/16
5/18/2016    Trans No. 913645          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00    3,120.00    3,120.00
             Check No. 81170           Slatkin & Reynolds, P.A. (Inv # 17385) Serv: 4/1-4/29/16
6/1/2016     Trans No. 913661          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00    2,374.80    2,374.80
             Check No. 81170           Slatkin & Reynolds, P.A. (Inv # 17448) Serv: 5/9-5/31/16
8/11/2016    Trans No. 919644          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00     694.05       694.05
             Check No. 81331           Slatkin & Reynolds, P.A. (17743) Serv: 7/5/16-7/31/16
10/10/2016   Trans No. 921551          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00    3,582.05    3,582.05
             Check No. 81825           Slatkin & Reynolds, P.A. (17884) Serv: 8/16-8/31/16
10/10/2016   Trans No. 921552          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00    3,822.50    3,822.50
             Check No. 81825           Slatkin & Reynolds, P.A. (17943) Serv: 9/6-9/29/16
12/19/2016   Trans No. 957104          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00    2,328.40    2,328.40
             Check No. 82256           Slatkin & Reynolds, P.A.
2/10/2017    Trans No. 958450          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00    1,723.80    1,723.80
             Check No. 82319           Slatkin & Reynolds, P.A. (18568) Serv: 1/9/17-1/31/17 (Kaika SAS)
3/14/2017    Trans No. 971507          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00    1,806.40    1,806.40
             Check No. 82450           Slatkin & Reynolds, P.A. (18679) Serv: 2/1-27/17 (Kaika SAS)
6/1/2017     Trans No. 998708          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00    1,007.90    1,007.90
             Check No. 82779           Slatkin & Reynolds, P.A. (18788-4/11/17) Serv: 3/6-3/29/17 (Kaika)
6/1/2017     Trans No. 998709          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00    1,272.15    1,272.15
             Check No. 82779           Slatkin & Reynolds, P.A. (18898-5/5/17) Serv: 4/4-4/26/17 (Kaika)
6/13/2017    Trans No. 1003223         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.      Prof        1.00     617.50       617.50
             Check No. 83147           Slatkin & Reynolds, P.A. (inv.#19008) Serv:5/02/17 - 5/30/17 (Kaika
                                       SAS)

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Search for: 23321-0001 Search by: Matter ID Stage: (all) Type: (all)


                                       Matter ID / Matter Description                                           Component
Date                                   Narrative                                                                Code        Units     Price        Value
7/10/2017    Trans No. 1022235         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00     422.50       422.50
             Check No. 83147           Slatkin & Reynolds, P.A. (19124) Serv: 6/1/17-6/22/17
8/3/2017     Trans No. 1022236         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00      97.50        97.50
             Check No. 83147           Slatkin & Reynolds, P.A. (19237) Serv: 7/10/17
9/6/2017     Trans No. 1030371         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00    1,230.36    1,230.36
             Check No. 83381           Slatkin & Reynolds, P.A. (19352) Serv: 8/3/17-8/31/17
10/11/2017   Trans No. 1037578         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00     147.50       147.50
             Check No. 83530           Slatkin & Reynolds, P.A. -(19468) Serv: 9/5/17-9/25/17
1/2/2018     Trans No. 1057461         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00      65.00        65.00
             Check No. 83752           Slatkin & Reynolds, P.A. (19591) Serv: 10/26/17-10/31/17 (Kaika SAS)
1/2/2018     Trans No. 1057462         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00    1,357.50    1,357.50
             Check No. 83752           Slatkin & Reynolds, P.A. (19716) Serv: 11/1/17-11/27/17 (Kaika SAS)
3/22/2018    Trans No. 1082858         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00     357.50       357.50
             Check No. 84150           Slatkin & Reynolds, P.A. (19784) Serv: 12/12/17-12/20/17 (Kaika)
3/22/2018    Trans No. 1082859         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00     422.50       422.50
             Check No. 84150           Slatkin & Reynolds, P.A. (19966) Serv: 1/18/18-1/31/18 (Kaika)
3/22/2018    Trans No. 1082860         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00    1,345.35    1,345.35
             Check No. 84150           Slatkin & Reynolds, P.A. (20097) Serv: 2/2/18-2/26/18 (Kaika)
5/31/2018    Trans No. 1110749         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00     162.50       162.50
             Check No. 84734           Slatkin & Reynolds, P.A. (20213) Serv: thru 4/30/18 (Kaika SAS)
6/8/2018     Trans No. 1110751         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00     292.50       292.50
             Check No. 84734           Slatkin & Reynolds, P.A. (20415) Serv: 5/1/18-5/30/15 (Kaika SAS)
9/13/2018    Trans No. 1131147         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00     400.00       400.00
             Check No. 85357           Probo Translation Services (inv.#1896 (b)) Serv:Translation Spanish to
                                       English 9/4/18(Kaika)
9/25/2018    Trans No. 1134288         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.       Prof        1.00     661.25       661.25
             Check No. 85356           Link Translations Inc. (00040381) Serv: Trial 9/13/18 (Kaika)



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                                       Matter ID / Matter Description                                         Component
Date                                   Narrative                                                              Code        Units       Price       Value
9/25/2018    Trans No. 1134289         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.     Prof        1.00      546.25       546.25
             Check No. 85356           Link Translations Inc. (00040274) Serv: Trial 9/13/18 (Kaika)
10/1/2018    Trans No. 1140529         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.     Prof        1.00       93.70        93.70
             Check No. 85358           Slatkin & Reynolds, P.A.-(20521) Serv: 5/20-6/14/18 (Kaika SAS)
10/19/2018   Trans No. 1140530         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.     Prof        1.00      162.50       162.50
             Check No. 85358           Slatkin & Reynolds, P.A.- (20614) Serv: 7/12-7/31/18 (Kaika SAS)
10/19/2018   Trans No. 1140531         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.     Prof        1.00     1,105.00    1,105.00
             Check No. 85358           Slatkin & Reynolds, P.A. (20745) Serv: 8/3/18-8/23/2018( (Kaika SAS)
10/19/2018   Trans No. 1140532         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.    Prof         1.00    10,910.00   10,910.00
             Check No. 85359           Slatkin & Reynolds, P.A.-((20797)Serv: 9/4/2018-9/27/2018 (Kaika SAS)
12/13/2018   Trans No. 1151007         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.     Prof        1.00       61.80        61.80
             Check No. 85658           Slatkin & Reynolds, P.A. - Sept
12/13/2018   Trans No. 1151008         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.     Prof        1.00       32.50        32.50
             Check No. 85658           Slatkin & Reynolds, P.A.-October
12/13/2018   Trans No. 1151009         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.     Prof        1.00       98.40        98.40
             Check No. 85658           Slatkin & Reynolds, P.A.-November
                                                                                              Component: Prof Svc         34.00               46,888.79

Component: Resrch

10/21/2013   Trans No. 859503          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.     Resrch      1.00         0.10        0.10
             Check No. 30663           PACER
3/7/2014     Trans No. 867563          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.     Resrch      1.00       36.39        36.39
             Check No. 31046           West Group
6/16/2014    Trans No. 873545          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.     Resrch      1.00      188.90       188.90
             Check No. 31487           West Group
7/15/2014    Trans No. 874983          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.     Resrch      1.00       13.34        13.34
             Check No. 31526           West Group


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                                       Matter ID / Matter Description                                            Component
Date                                   Narrative                                                                 Code        Units     Price        Value
10/1/2014    Trans No. 878633          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.        Resrch      1.00      40.30        40.30
             Check No. 31678           West Group
3/14/2016    Trans No. 909324          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.        Resrch      1.00       5.00         5.00
             Check No. 33248           American Express -Pacer
6/1/2016     Trans No. 917316          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.        Resrch      1.00      12.90        12.90
             Check No. 33572           American Express
6/1/2017     Trans No. 1005864         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.        Resrch      1.00       2.10         2.10
             Check No. 34612           American Express-PACER/RESEARCH
9/1/2017     Trans No. 1033470         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.        Resrch      1.00       7.10         7.10
             Check No. 34871           American Express-Pacer/Research
9/1/2018     Trans No. 1139020         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.        Resrch      1.00       2.80         2.80
             Check No. 35973           American Express-RESEARCH
                                                                                                  Component: Resrch          10.00                 308.93

Component: Rpt Co

12/29/2015   Trans No. 904967          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.        Rpt         1.00     165.00       165.00
             Check No. 80435           Veritext/Florida Reporting Company, Co. (inv.#FLA2506970)
                                       Depo:Camilo Pererira/Kaika SAS 12/18/15
2/10/2016    Trans No. 907132          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.        Rpt         1.00    1,295.50    1,295.50
             Check No. 80399           Ouellette & Mauldin Court Reporters, Inc. (Inv # 962538) 2004 of: Baron
                                       Camilo Agasim-Pereira of Fulwood
3/1/2016     Trans No. 908220          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.        Rpt         1.00     449.55       449.55
             Check No. 80398           Empire Legal Support, Inc. (Inv # 18174) Trans: Root 2/15/16 (Kaika)
4/4/2016     Trans No. 909857          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.        Rpt         1.00     128.45       128.45
             Check No. 80454           Empire Legal Reporting - (inv # 18562) Court Reporter Attendance fee:
                                       Judge Areces 2/18/16
10/24/2016   Trans No. 923652          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.        Rpt         1.00    1,606.60    1,606.60
             Check No. 81983           Ouellette & Mauldin Court Reporters, Inc. (inv.#963924) Depo:Baron


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                                       Matter ID / Matter Description                                        Component
Date                                   Narrative                                                             Code        Units    Price       Value
                                       Agasim-Pereira 09/29/16
                                                                                               Component: Rpt Co          5.00             3,645.10

Component: Subp

10/22/2013   Trans No. 859561          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Subp         1.00     20.00       20.00
             Check No. 30577           Carlos Acevedo-10/21/13-Miami Dade County Clerk's Office-Issuance of
                                       Summons
11/8/2013    Trans No. 860596          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.    Subp        1.00     72.00       72.00
             Check No. 75866           Ciani Investigations, Inc. (Inv # 2013000508) Summ: Kaika SAS Corp
                                       10/30/13
8/14/2015    Trans No. 897013          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Subp         1.00    -20.00      -20.00
             Check No. 30577           Carlos Acevedo-10/21/13-Miami Dade County Clerk's Office-Issuance of
                                       Summons
10/5/2015    Trans No. 900325          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.    Subp        1.00     20.00       20.00
             Check No. 32795           Carlos Acevedo
12/21/2015   Trans No. 904940          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.    Subp        1.00    164.50      164.50
             Check No. 80169           Compass Investigations (inv.#2015011646) Subp:Camilo Agasim Pereira
                                       12/16/15
3/1/2016     Trans No. 908221          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.    Subp        1.00    747.00      747.00
             Check No. 80390           Compass Investigations (Inv # JVS2016000408) Subp: 2/4-2/8/16
                                       (Kaika)
                                                                                                  Component: Subp         6.00             1,003.50

Component: Tvl

10/22/2013   Trans No. 859562          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.    Tvl         1.00      6.50        6.50
             Check No. 30577           Carlos Acevedo-Parking-Miami-Dade 10/21/13
12/16/2013   Trans No. 862110          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.    Tvl         1.00     16.97       16.97
             Check No. 30704           Dwayne C. Remley - TVL: 12/11/13

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                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code        Units   Price       Value
12/16/2013   Trans No. 862112          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00    16.97       16.97
             Check No. 30704           Dwayne C. Remley - TVL: 12.13.19
5/23/2014    Trans No. 872573          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00    33.35       33.35
             Check No. 31284           Dwayne C. Remley: TVL 5/22/14
5/23/2014    Trans No. 872574          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00     4.00        4.00
             Check No. 31284           Dwayne C. Remley TVL/Parking -Miami 5/22/14
6/9/2014     Trans No. 872583          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00    16.80       16.80
             Check No. 31293           Carlos Acevedo: TVL/4/8/14-Miami-Dade Cthse-Hrg M/Dismiss
6/9/2014     Trans No. 872584          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00    16.80       16.80
             Check No. 31293           Carlos Acevedo-TVL/6/4/14-Miami-Dade Cthse-hrg Objec to Bank Subp
                                       & M/Stay
6/9/2014     Trans No. 872585          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00    14.00       14.00
             Check No. 31293           Carlos Acevedo-TVL/6/4/14-Miami-Dade Cthse Parking-hrj Objec to
                                       Bank Subp & M/Stay
11/28/2014   Trans No. 883789          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00    64.60       64.60
             Check No. 31887           Dwayne C. Remley - TVL: 11/26/14-Miami-Dade Cth
8/14/2015    Trans No. 897012          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00    -6.50       -6.50
             Check No. 30577           Carlos Acevedo-Parking-Miami-Dade 10/21/13
10/5/2015    Trans No. 900326          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00     6.50        6.50
             Check No. 32795           Carlos Acevedo
2/1/2016     Trans No. 908536          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00    20.00       20.00
             Check No. 33191           American Express-Parking/Miami 1/14/16
3/14/2016    Trans No. 909325          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00    15.00       15.00
             Check No. 33248           American Express - M&M Parking -Miami 2/18/16-CAA
9/1/2016     Trans No. 925148          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00    10.00       10.00
             Check No. 33877           American Express
10/1/2016    Trans No. 934665          23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.   Tvl         1.00    45.63       45.63
             Check No. 33955           American Express


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Cost Listing Transactions Cost Listing
Search for: 23321-0001 Search by: Matter ID Stage: (all) Type: (all)


                                       Matter ID / Matter Description                                       Component
Date                                   Narrative                                                            Code         Units     Price       Value
5/8/2017     Trans No. 1003301         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.    Tvl          1.00      6.07         6.07
             Check No. 34534           American Express
10/1/2018    Trans No. 1149992         23321-0001 / Kaika SAS v. Camilo Agasim-Pereira of Fulwood, et al.    Tvl          1.00    519.77      519.77
             Check No. 36041           American Express-Lodging 9/12/18-9/13/18
                                                                                                    Component: Tvl       17.00                806.46

                                                                                                        Grand Total   10,266.79            284,137.31




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